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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


 JOHN DOE,

                Plaintiff,

          v.
                                                      Civil Action No. 24-0617 (TJK)
 U.S. IMMIGRATION AND CUSTOMS
 ENFORCEMENT,

                Defendant.


                                   [PROPOSED] ORDER
         UPON CONSIDERATION of Defendant’s motion for summary judgment, and the entire

record herein, it is hereby

         ORDERED that Defendant’s motion is GRANTED; and it is further

         ORDERED that Judgement shall be entered for Defendant.



Dated:
                                                        United States District Judge
